                       Case 3:24-cv-01541-IM               Document 4        Filed 09/12/24      Page 1 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

              Advisor Internet Marketing LLC                        )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                          Civil Action No. 3:24-cv-1541-IM
                                                                    )
                    Agent Autopilot LLC,                            )
                      Joshua E. Jones,                              )
                            and                                     )
                    Brandon Smotherman                              )
                           Defendant(s)                             )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Brandon Smotherman
                                           1105 Haywood Road
                                           Greenville, SC 29615




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shawn Kolitch
                                           Kolitch Romano Dascenzo Gates LLC
                                           621 SW Morrison #1100
                                           Portland, OR 97205



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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Date:•09/12/2024
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                                                                                         Signature of Clerk or Deputy Clerk
                       Case 3:24-cv-01541-IM                Document 4         Filed 09/12/24      Page 2 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Oregon
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              Advisor Internet Marketing LLC                          )
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                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 3:24-cv-1541-IM
                                                                      )
                    Agent Autopilot LLC,                              )
                      Joshua E. Jones,                                )
                            and                                       )
                    Brandon Smotherman                                )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Joshua E. Jones
                                           4015 Spylaw Rd.
                                           Bargersville, IN 46106




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shawn Kolitch
                                           Kolitch Romano Dascenzo Gates LLC
                                           621 SW Morrison #1100
                                           Portland, OR 97205



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                       Case 3:24-cv-01541-IM                Document 4         Filed 09/12/24      Page 3 of 3

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                    for the
                                                           District
                                                    __________      of Oregon
                                                               District of __________

              Advisor Internet Marketing LLC                          )
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                            Plaintiff(s)                              )
                                                                      )
                                v.                                            Civil Action No. 3:24-cv-1541-IM
                                                                      )
                    Agent Autopilot LLC,                              )
                      Joshua E. Jones,                                )
                            and                                       )
                    Brandon Smotherman                                )
                           Defendant(s)                               )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Agent Autopilot LLC
                                           4015 Spylaw Rd.
                                           Bargersville, IN 46106




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Shawn Kolitch
                                           Kolitch Romano Dascenzo Gates LLC
                                           621 SW Morrison #1100
                                           Portland, OR 97205



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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 Date::09/12/2024
       _ _ _ _ _ __                                                             By: s/G. Davis, Deputy Clerk
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